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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                ___________

                                     No. 17-3391
                                     ___________


                    DOMINION DEVELOPMENT GROUP, LLC

                                          v.

               CINDY BEYERLEIN; BOENNING & SCATTERGOOD

                          Dominion Development Group, LLC;
                          Dominion Development Group Derivatively on
                          behalf of Flagstaff Resort Land Holdings, Ltd.,
                                                      Appellants

                                     ___________

                     Appeal from the United States District Court
                       for the Middle District of Pennsylvania
                         (District Court No. 3-15-cv-00961)
                      District Judge: Hon. Malachy E. Mannion
                                    ___________

                  Submitted Pursuant to Third Circuit L.A.R. 34.1(a)
                                December 11, 2018
                                   ___________

         Before: SMITH, Chief Judge, McKEE, and FISHER, Circuit Judges.
                                  ___________

                                     JUDGMENT
                                    ____________


      This case came to be considered on the record from the United States District

Court for the Middle District of Pennsylvania and was submitted on December 11, 2018.
       Case 3:15-cv-00961-MEM Document 140 Filed 05/24/19 Page 2 of 2



      On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

Court that the judgment of the District Court entered on September 28, 2017 is

VACATED, thus leaving in place the October 21 Order of Dismissal.

      All of the above in accordance with the opinion of this Court.


                                                ATTEST:

                                                s/ Patricia S. Dodszuweit
                                                Clerk
Dated: May 24, 2019
